         Case 1:22-mj-00278-RMM Document 18 Filed 02/07/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 22-mj-278 (RRM)
                                               :
JACQUELYN J. STARER,                           :
                                               :
                       Defendant.              :



                                              ORDER

       Based upon the representations in the Consent Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further ORDERED that the currently

scheduled status conference on February 9, 2023, be continued for good cause to April 11, 2023

at 1:00 p.m.EHIRUH0DJLVWUDWH-XGJH0R[LOD$8SDGK\D\D; and it is further

       ORDERED that the time between February 9, 2023, and April 11, 2023, shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the

parties additional time to engage in negotiations for a potential pretrial resolution and the parties

additional time to review discovery.
                                                                 2023.02.07
                                                                 12:56:28
                                                                 -05'00'
                                               ____________________________________
                                               ROBIN M. MERIWEATHER
                                               UNITED STATES MAGISTRATE JUDGE
